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      January 3, 2024

     VIA ECF
     The Honorable Valerie E. Caproni
     United States District Court
     Southern District of New York
     40 Foley Square
     New York, NY 10007

             Re:      Martinez v. 189 Chrystie Street Partners, LP d/b/a The Box et al.
                      Civil Case No.: 1:22-cv-03111-VEC

     Dear Judge Caproni:

              We represent Defendants in the above-referenced action. We submit this joint letter on behalf
     of all parties in accordance with Your Honor’s So-Ordered Civil Case Management Plan and
     Scheduling Order (“Scheduling Order”), ordering the parties to jointly file monthly updates on the
     status of discovery. (Dkt. No. 90).

             The parties have exchanged initial disclosures pursuant to FRCP 26(a)(1) by the deadline set
     forth in the Scheduling Order. On December 4, 2023, Defendants served their First Set of
     Interrogatories and First Request for Production of Documents on Plaintiff. On December 19, 2023
     and January 2, 2024, Plaintiff provided HIPAA authorizations. Also on January 2, Plaintiff served
     her First Set of Interrogatories and Document Demands on Defendants.

             Defendants consented to Plaintiff’s request for a three-week extension of time to respond to
     Defendants’ discovery demands through and including January 24, 2024. Defendants’ responses to
     Plaintiff’s First Set of Interrogatories and First Request for Production of Documents are due on
     February 1, 2024.

            The parties will provide another status update on Thursday, February 1, 2024. We thank the
     Court for its time and attention to this matter.




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The Honorable Valerie E. Caproni
January 3, 2024
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                                       Respectfully,

                                       /s/ Joan Lopez

                                       Joan Lopez of
                                       LEWIS BRISBOIS BISGAARD & SMITH LLP


                                       Respectfully,

                                       /s/ Megan S. Goddard

                                       Megan S. Goddard of
                                       GODDARD LAW PLLC
